                IN THE UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                       JACKSONVILLE DIVISION


CHIANNE D., et al.,

      Plaintiffs,
                                              Case No. 3:23-cv-00985-MMH-LLL
v.

JASON WEIDA, in his official capacity
as Secretary for the Florida Agency for
Health Care Administration, and
SHEVAUN HARRIS, in her official
capacity as Secretary for the Florida
Department of Children and Families,

    Defendants.
___________________________________/


                     DEFENDANTS’ TIME-SENSITIVE
                    MOTION TO REOPEN THE EVIDENCE

      Defendants respectfully move the Court to reopen the evidence for the sole

purpose of establishing a single fact: that the FLORIDA system change regarding

Reason Code 241 that Mr. Hari Kallumkal testified about at trial was completed and

implemented on August 24, 2024, consistent with Mr. Hari Kallumkal’s testimony.

Given the parties’ approaching deadline to file their post-trial proposed findings of

fact and conclusions of law, Defendants respectfully request a ruling on this motion

by September 3, 2024.
      1.     This case proceeded to a six-day bench trial on July 11 and from July

29 through August 2. The trial transcripts were filed on August 19, 2024, and as

directed by the Court, the parties are required to file proposed findings of fact and

conclusions of law by September 18, 2024.

      2.     On August 1 and 2, Defendants presented the testimony of their final

trial witness, Hari Kallumkal of Deloitte Consulting. Mr. Kallumkal testified that, at

DCF’s request, Deloitte was in the process of implementing a change to the

FLORIDA system regarding Reason Code 241. Specifically, Mr. Kallumkal testified

that, once the change is implemented, the FLORIDA system will automatically place

the text of Reason Code 241 on each Notice of Case Action provided to a recipient

who is terminated from Medicaid due to income. See, e.g., ECF No. 166 (“Tr. Vol.

VI”) at 18:15–20:7, 84:14–25, 88:22–89:3, 95:7–19; ECF No. 165 (“Tr. Vol. V”) at

261:13–17.1 When asked by this Court when the enhancement would be completed,

Mr. Kallumkal testified that the enhancement would be completed toward the end

of August 2024. Tr. Vol. V at 209:25–210:5 (testifying on August 1, 2024, that the

change was scheduled to be completed “in August,” and “in the next three or four

weeks”).

      3.     Defendants respectfully request that this Court reopen the evidence for

the sole purpose of establishing the single fact that the change that Mr. Kallumkal




      1 The text of Reason Code 241 reads as follows: “YOUR HOUSEHOLD’S

INCOME IS TOO HIGH TO QUALIFY FOR THIS PROGRAM.” Defs.’ Ex. 32 at 2.


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described has been competed and implemented. Defendants seek an opportunity to

present brief testimony from LaQuetta Anderson to establish this fact.

      4.     Defendants anticipate that Ms. Anderson’s direct examination will take

less than ten minutes and that her testimony could effectively be accomplished by

videoconference for the convenience of the Court, the parties, and the witness.

                             Memorandum of Law

      This Court enjoys discretion to reopen the evidence after trial and consider

additional proof. See, e.g., Zenith Radio Corp. v. Hazeltine Research, Inc., 401 U.S.

321, 331 (1971) (“Like a motion under Rule 15(a) to amend the pleadings, a motion

to reopen to submit additional proof is addressed to [the District Court’s] sound

discretion.”); Arnold Rogers v. City of Orlando, 660 F. App’x 819, 823 (11th Cir.

2016) (“[W]e review a district court’s ruling on a motion to reopen evidence for

abuse of discretion.”); Lundgren v. McDaniel, 814 F.2d 600, 607 (11th Cir. 1987)

(“As a matter of federal law, the trial court has discretion whether to reopen the

evidence after both parties have rested.”).

      When determining whether to allow a party to submit additional testimony,

this Court considers (i) whether the evidence is material; (ii) whether the failure to

introduce the evidence earlier is due to a lack of diligence by the moving party; and

(iii) the risk of prejudice to the non-moving party, including whether the non-

moving party has an opportunity for cross-examination. In re Moore, 559 B.R. 243,

264 (Bankr. M.D. Fla. 2016); accord Matthew Bender & Co. v. West Publ’g Co., 158

F.3d 674, 679 (2d Cir. 1998) (“Among the factors the trial court should examine in


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deciding whether to allow a reopening are the importance and probative value of the

evidence, the reason for the moving party’s failure to introduce the evidence earlier,

and the possibility of prejudice to the non-moving party.” (quoting Garcia v.

Woman’s Hosp., 97 F.3d 810, 814 (5th Cir. 1996))).

       Reopening the evidence is especially appropriate where, as here, no judgment

has been entered and present-day facts are relevant to the issue of remedies. See In

re W. Shore Assocs., Inc., 435 B.R. 723, 725 (Bankr. M.D. Fla. 2010) (“The trial court

may properly look with more favor upon a motion to reopen made after submission,

but before any indication by it as to its decision . . . than when the motion comes

after a decision has been rendered . . . .” (quoting Caracci v. Brother Int’l Sewing

Mach. Corp. of La., 222 F. Supp. 769, 771 (E.D. La. 1963)) (emphasis omitted)); see

also Grand Reserve of Columbus, LLC v. Prop.-Owners Ins. Co., 721 F. App’x 886,

889 (11th Cir. 2018) (“Property Owners argues that the district court abused its

discretion when it allowed Dansby to offer new evidence of damages after Grand

Reserve stated that it rested its case, but a trial ‘judge has broad discretion to reopen

a case to accept additional evidence, and his decision will not be overturned absent

an abuse of that discretion . . . .’”).

       These factors are comfortably satisfied here. First, the proposed testimony is

clearly material. In its class-certification order, the Court noted that some Notices

of Case Action “reflect an additional omission in the lack of a Designated Reason

identifying income as the basis for the ineligibility determination,” and the Court

accordingly certified “a subclass encompassing individuals who received this form


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of notice.” ECF No. 122 at 39–40. The change to the FLORIDA system ensures that

all Notices of Case Action issued to Medicaid recipients who are terminated because

of income will display a Designated Reason that identifies income as the basis for

DCF’s ineligibility determination. The change is thus highly relevant to the subclass,

especially since Plaintiffs seek only prospective relief. ECF No. 77 at 43–44; accord

ECF No. 122 at 34 (explaining that the “relief sought here is prospective in nature”).

      Second, Defendants’ request to reopen the evidence does not result from a

lack of diligence. Instead, the material fact Defendants seek to establish came into

existence only a few days ago, and Defendants promptly moved for relief. As in In

Matter of Dunson, No. 13-10604, 2014 WL 7793689, at *3 (Bankr. N.D. Ga. Sept.

16, 2014), the “evidence in question could not have been presented at the time of

trial because it did not exist.” At trial, Defendants presented the facts that then

existed regarding DCF’s automation of Reason Code 241 for income-based Medicaid

terminations, including Mr. Kallumkal’s estimate that the system change would be

completed this month. Tr. Vol. V at 209:25–210:5, 248:26–259:5. Plaintiffs had a

full opportunity to cross-examine Mr. Kallumkal. Moreover, should this Court grant

this motion, Plaintiffs will have every opportunity to cross-examine the witness to

the full extent of the scope of Defendants’ direct examination.

      Unlike cases such as In re West Shore Associates, this is not a situation in

which the Court announced its conclusions to the parties, trial concluded long ago,

or the requested reopening would meaningfully delay resolution of the case. These

distinctions, along with the opportunity to conduct cross-examination, eliminate


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any prejudice to Plaintiffs. See In Matter of Dunson, 2014 WL 7793689, at *3

(concluding that opposing party would not be prejudiced by reopening evidence to

present testimony on newly developed and material facts because a post-trial

evidentiary hearing would allow for cross-examination, and because the court had

not decided the issue on which the supplemental testimony would be offered).

      This Court should accordingly exercise its discretion to reopen the evidence

to allow Ms. Anderson’s brief testimony to establish a recently developed fact that is

material to the necessity and scope of the prospective injunctive relief requested by

Plaintiffs. See id. at *2 n.5 (explaining that motions to reopen “may update a trial

court with significant post-trial developments,” and reopening evidence to receive

“up-to-date information” regarding a “one time event that occurred on the heels of

trial” and was “relevant and material” to the Court’s decision (internal marks

omitted)); cf. Deutsche Bank Sec., Inc. v. Pruitt, 1:11-cv-04434-SCJ, 2012 WL

13013371, at *2 (N.D. Ga. Jan. 5, 2012) (granting motion to reopen evidence after

preliminary injunction hearing when proffered evidence was relevant and newly

discovered).

                                    Conclusion

      For these reasons, Defendants respectfully request that this Court reopen the

evidence for the sole purpose of allowing Defendants to establish that, effective

August 24, 2024, DCF implemented the Reason Code 241 change referenced in Mr.

Kallumkal’s trial testimony. A hearing to present Ms. Anderson’s testimony could be




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accomplished by videoconference, and direct examination can be accomplished in

less than ten minutes.

                            Certificate of Conferral

      Pursuant to Local Rule 3.01(g), undersigned counsel conferred with counsel

for Plaintiffs by email on August 22, 26, and 27, 2024. Plaintiffs oppose Defendants’

motion, but the parties have expressed willingness to continue to discuss potential

resolutions of the matters presented in this motion.

      Dated August 27, 2024.              Respectfully submitted,




                                          /s/ Andy Bardos
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